Case 2:04-cV-02454-BBD-STA Document 16 Filed 08/11/05 Page 1 of 2 Page|D 36

Fll.ED BY _,,,_____,, D.C.

IN rHE uNlTED sTATEs DlsTRlcT couRT 05 mg ll m 9, 32

FOR THE WESTERN D|STR|CT OF TENNESSEE

 

WESTERN DlV|SlON THOMAS M. GOUD
CLEHK. UVS. D"STR#CT COUFlT
viii LF` “,l"ltS
l\/IARK A. AUGUST|, as Treasurer, and
|V|ARK A. AUGUSTI FOR CONGRESS,
P|aintiff, Case No.: 04-2454 D

VS.

FEDERAL ELECT|ON COMM|SS|ON,

Defendant.

 

ORDER OF VOLUNTARY D|SM|SSAL

 

it appears to the court that P|aintiff |V|ark A. Augusti has voluntarily agreed to
withdraw his complaint
|T lS THEREFORE ORDERED that the above cause be dismissed without prejudice

based upon Plaintiff’s letter dated June 2, 2005.

n rs so oRDERED this [o*" day of _@d£_@ 2005.

@@;WQW/l//

B RN|CE B. DONALD
lTED STATES D|STR|CT lJUDGE

_;or ulnent entered on the docket sheet in compliance

.`t"tn ..t.llB 58 and/Ol' 79(3) FRCP On -MQ`:)';_“ fin-m /&

P_il.

 

TRKTFC

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02454 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Mark A. Augusti
488 Tree Top Cv.
Cordova, TN 38018

Honorable Bernice Donald
US DISTRICT COURT

